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8                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10   SHEJUANA ARY, individually and on behalf Case No. 4:22-cv-02625-HSG
     of all other persons similarly situated,
11                                            [PROPOSED] ORDER GRANTING
                         Plaintiff,           DEFENDANT TARGET CORPORATION’S
12            vs.                             MOTION TO DISMISS AND TO STRIKE
                                              PLAINTIFF’S COMPLAINT
13   TARGET CORPORATION,
                                              Date:     October 13, 2022
14                       Defendant.           Time:     2:00 p.m.
                                              Judge:    Hon. Haywood S. Gilliam, Jr.
15                                            Location: 1301 Clay Street
                                                        Courtroom 2, 4th Floor
16                                                      Oakland, CA 94612
17                                          Complaint filed:   April 29, 2022
                                            Trial:             TBD
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              [PROPOSED] ORDER GRANTING DEFENDANT TARGET CORPORATION’S
                 MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT
        Case 4:22-cv-02625-HSG Document 21-1 Filed 08/24/22 Page 2 of 2




1                                                ORDER
2          Upon Defendant Target Corporation’s Motion to Dismiss and to Strike Plaintiff’s Complaint

3    (the “Motion”), and upon review of the papers submitted and the oral argument presented by counsel,

4    and good cause appearing, it is hereby ORDERED THAT:
5          1.     Defendant Target Corporation’s Motion is GRANTED;
6          2.     Plaintiff’s allegations in footnotes 3, 5, 6, 7, 10, 11, 13, 14, 15, 16, and 17 and

7                 paragraphs 27 and 28 on pages 9-13 of the Complaint are hereby stricken under Fed.

8                 R. Civ. P. 12(f).

9          3.     Plaintiff’s claims against Target Corporation are DISMISSED WITH PREJUDICE;
10         IT IS SO ORDERED.
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13   DATED:      _____________, 2022
                                                         HON. HAYWOOD S. GILLIAM, JR.
14                                                       U.S. DISTRICT COURT JUDGE
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                [PROPOSED] ORDER GRANTING DEFENDANT TARGET CORPORATION’S
                   MOTION TO DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT
